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UNITED STATES DISTRICT COURT
DISTRICT OF INDIANA
INDIANAPOLIS DIVISION

 

UNITED STATES OF AMERICA x
Plaintiff

vs. Crim. Case No: 1:15-cr-00159-TWP

JARED S. FOGLE
Defendant

MOTION TO TAKE JUDICIAL NOTICE OF FACTS OF RECORD

dOMES now, Defendant FOGLE, does hereby in reliance on Rule 201 of Fed. R.
of Evidence:

l) FOGLE, per his rights, requests a hearing on the facts to
be noticed; (see 201(e));

2) The court is afforded jurisdiction at any time to notice any
such fact(s) raised; (see ZOl(d))

3) The court HUST take judicial notice it the party request it
"and the court is supplied the necessary information";(see ZOl(C))

4) FOGLE relies on the existing records of this case, and (2)other
cases in support of the facts to be noticed; (see 201(b)(2)).
FACTS TO BE NOTICED
FOGLE, hereby requests the following facts be judicially noticed by the court:
DUE PROCESS VIOLATIONS
1) FOGLE presents (Exhibit A) § 2252(a)(2) of Title 18;
judicially notice no mention of "conspiracy' exists within

the Statute Of laW;

z) In United States vs. uames Natnan Fry, 8th Circuit 13-3502.2815
lines 4 thru 6 states: (Exhibit B)

”THE COURT: But there is no criminal charge in the statute of aiding
and abetting. Its just another way of finding somebody guilty.”

3) In United States vs. Frank Edwin Pate, btn Circuit, 16-40814.1582
states in part: ( Exhibit Ci)

'WILLIAMS: While we can prosecute the overall scheme, we can only
go five years back. Is that the way -- let me rephrase. We can
charge an entire -- can we charge an entire scheme?"

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”EDSON: Answer: ”Yes we can”.

”WILLIAMS: ”but we have to have a wire that's within the five years?"

'EDSON: "Thats correct.”

(Note to Court: WILLIAMS = James Andrew williams, ED of Texas, AUSA)
( EDSON Christine Edson, SA FBI,Dallas Office.)

4) Title 18 USCS § 1343 states in part:

”transmits or causes to be transmitted by means or wire, radio, or
television communication in interstate or foreign commerce, any
writings, signs, signals, pictures, or sounds 525 the purpose 25
executing such scheme 2£ articfice.” (underline added; See Exhibit D)

5) Exhibit E of documents retrieved on 1 FEB 2018, from National
Archives files, regarding letters between FBI Director J. Edgar Hoover
and Congressman Karl M. LeCompte; notations will be on specific parts:

”I am deeply grateful for your support of the FBI in the past, and if
l can be of service to you during the coming Session I hope you will
communicate with me.” (J. Edgar Hoover, citing from November 8, 2946)

"NOTE: No letter of congratulations was sent Mr.LeCompte in 1944;
however, he has been very friendly towards the Bureau.”(Nov. 8, 1945)

”I hope we can go forward with constructive legislation in the
next two years.” (Citing Karl LeCompte, November 12, 1946)

'my associates and I shall certainly miss your presence on Capitol
Hill. We have enjoyed working with you, and we wish you ever success
for the future.” (J.Edgar Hoover, as cited in January ZB, 1956 letter)

”NOTE: LeCompte has been very friendly toward the Bureau and letters
of congratulations have been sent to him since 1946.” (Jan 28, 1958
letter from J.Edgar Hoover)

6) Exhibit F of Title 50 USCS § 841, Congressionally still effective:

”Unlike political parties, the Communist Party acxnowledges no
constitutional 25 stautory limitations upon its conduct or upon
that of its members.”

”And its dedication to the proposition that the present constitutional
government §§ the United States ultimately must he brought to ruin by
any available means, including resort to force and violence.”
(underlines added)

FOGLE does hereby request this court, take Judicial Notice of all the presented
facts submitted to this record.

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Ja/edrj S. Fogle /7;%3

Pro Se

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CC: ECF to all emails on file.

